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       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                      )
                                              )
    v.                                        )      USDC No. 23-cr-96-01 (RDM)
Brian McGee,                    defendant.    )

                         UNOPPOSED MOTION FOR TRAVEL

       Defendant, through undersigned counsel Nathan I. Silver, II, Esq. (“counsel”), appointed

by this Court under the Criminal Justice Act, with no objection from the United States,

respectfully moves the Court to permit defendant’s travel outside the continental United States

on dates to be determined.

       The defendant is on personal recognizance release with conditions. One condition is that

travel outside the continental U.S. must be approved by the Court. The defendant wishes to travel

to Germany to see his brother, who has had a series of operations for cancer and might not long

survive his recent illness. The defendant has not yet made arrangements for travel, as he wishes

to obtain court approval before committing personal funds to flights and accommodations. The

defendant would provide this information to the satisfaction of the Pretrial Service Agency

supervisory officer.

       The defendant has no criminal history, arrests or convictions, is in compliance with his

release conditions, and faces misdemeanor, not felony, charges in this case.

       The defendant through counsel has advised the government, through its attorney of

record, asst. U.S. Attorney Kathryn E. Fifield, of his plan to make this request. The government

does not oppose in this instance the defendant’s travel outside the United States.
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        For the reasons stated above, the defendant urges the Court to permit the defendant’s

travel outside the continental United States, specifically to and from Germany, subject to

providing, to the satisfaction of his Pretrial Services Agency supervising officer, documentation

of his travel arrangements, accommodations, and contact information of family members whom

he plans to visit.

        A proposed Order is attached.

        WHEREFORE, the defendant respectfully moves the Court to grant said relief.

                                        This pleading is,

                                    Respectfully submitted,

                                              /s/

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                                  CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that a copy of the foregoing pleading has been served via ECF on
Kathryn E. Fifield, Esq., USDOJ-CRM, attorney of record for the United States, this 30th day of
March, 2023.

                                              /s/
                                        _______________________________
                                        Nathan I. Silver, II
